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U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N DI S T RI C T O F N E W Y O R K
                                                                                    X Ci vil A cti o n N o. 1: 2 1- c v - 9 5 6 2-P K C
B RI A N D O N N E L L Y A K A K A W S a n d
K A W S I N C.,

                                                     Pl ai ntiffs,
                     -a g ai nst -
                                                                                     DEF A ULT J U D G ME NT A N D
J O N A T H A N A N A N D, b ot h i n di vi d u all y a n d d oi n g                 P E R M A N E N T I N J U N C TI O N
b usi n ess as H O M E L E S S P E N T H O U S E,                                    O R DE R
 P E N T H O U S E T H E O R Y, HI D E O U T. N Y C,
I N C O G NI T O a n d Y O U N G N E O N, D A VI D K A N G,
D Y L A N J O V A N L E O N G YI Z HI,
T H E P E N T H O U S E T H E O R Y,
T H E P E N T H O U S E C O L L E C TI V E a n d
O S E L L DI N O DI R E C T C HI N A LI MI T E D,

                                                     D ef e n d a nts.
                                                                                X

          Pl ai ntiffs B RI A N D O N N E L L Y A K A K A W S ( “ B D ”) a n d K A W S I N C. ( “ KI ”)

( c oll e cti v el y, “ Pl ai ntiffs ”), h a vi n g c o m m e n c e d t his a cti o n a g ai nst D ef e n d a nts D Y L A N J O V A N

L E O N G YI Z HI ( “ L e o n g ”), T H E P E N T H O U S E T H E O R Y ( “ T P T ”) a n d T H E P E N T H O U S E

C O L L E C TI V E ( “ T P C ”) ( c oll e cti v el y, t h e “ D ef a ulti n g L e o n g D ef e n d a nts ”) b y fili n g of a

S u m m o ns a n d C o m pl ai nt o n N o v e m b er 1 8, 2 0 2 1 ( D kt. 1 );

          T h e D ef a ulti n g L e o n g D ef e n d a nts h a vi n g b e e n pr o p erl y s er v e d wit h t h e S u m m o ns a n d

C o m pl ai nt o n D e c e m b er 2 1, 2 0 2 1 ( D kt. 2 6) ;

          T h e D ef a ulti n g L e o n g D ef e n d a nts h a vi n g f ail e d t o a ns w er t h e C o m pl ai nt;

          Pl ai ntiff KI b ei n g t h e r e gist er e d o w n er of t hr e e tr a d e m ar ks ( K A W S, X X a n d H e a d wit h

X X e y es) as s et f ort h i n t h e f oll o wi n g si x F e d er al Tr a d e m ar k R e gistr ati o ns ( c oll e cti v el y,

“ K A W S R e gist er e d Tr a d e m ar ks ”):
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   U. S. T M R E G. N O.                                  T R A DE M A R K                                   R E GI S T R A TI O N
                                                                                                                      D ATE
            6, 0 4 6, 7 6 3            K A W S ( Cl ass es 6, 9, 1 4, 1 6, 1 8, 2 0, 2 5, 2 8)                   M a y 5, 2 0 2 0

            6, 0 4 7, 6 5 6                              K A W S ( Cl ass 3 5)                                    M a y 5, 2 0 2 0

            6, 1 0 2, 2 5 9                     X X ( Cl ass es 6, 9, 1 8, 2 0, 2 5, 3 5)                        J ul y 1 4, 2 0 2 0

            6, 1 0 2, 2 6 0                  H e a d wit h X X e y es ( Cl ass es 2 5, 2 8)                      J ul y 1 4, 2 0 2 0

            6, 1 1 6, 8 2 3                             X X ( Cl ass es 1 8, 2 5)                               A u g ust 4, 2 0 2 0

            6, 8 5 2, 8 5 0                           X X ( Cl ass es 1 4, 1 6, 2 8)                        S e pt e m b er 2 0, 2 0 2 2



            Pl ai ntiff KI b ei n g t h e r e gist er e d o w n er of t h e f oll o wi n g t w o K A W S C o p yri g hts

 ( C o m p a ni o n a n d B F F) as s et f ort h i n t h e f oll o wi n g t w o F e d er al C o p yri g ht R e gistr ati o ns

 ( c oll e cti v el y, “ K A W S R e gist er e d C o p yri g hts ”):



     C O P Y RI G H T R E G. N O.                            C O P Y RI G H T                     R E GI S T R A TI O N D A T E

                 V A 2 -1 8 0 -2 7 2                           C o m p a ni o n                             D e c. 2, 2 0 1 9

                 V A 2 -1 8 2 -6 5 2                                BFF                                    D e c. 1 2, 2 0 1 9



I T I S O R D E R E D, A D J U D G E D A N D D E C R E E D as f oll o ws:

                              I. D E F A U L TI N G L E O N G D E F E N D A N T S' LI A BI LI T Y

            1.          I T I S O R D E R E D, A D J U D G E D A N D D E C R E E D t h at J u d g m e nt is gr a nt e d i n

 f a v or of Pl ai ntiffs o n all t h e f oll o wi n g c a us es of a cti o n a g ai nst e a c h of t h e D ef a ulti n g L e o n g

 D ef e n d a nts, j oi ntl y a n d s e v er all y:

                        i.         T h e First C a us e of A cti o n f or Tr a d e m ar k C o u nt erf eiti n g p urs u a nt t o, i nt er
                                   ali a , 1 5 U. S. C. § § 1 1 1 4, 1 1 1 6 a n d 1 1 1 7 ;
                                                                   -2 -
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                     ii.        T h e F o urt h C a us e of A cti o n f or Tr a d e m ar k I nfri n g e m e nt p urs u a nt t o, i nt er
                                ali a , 1 5 U. S. C. § 1 1 1 4;

                     iii.       T h e S e v e nt h C a us e of A cti o n f or U nf air C o m p etiti o n, F als e D esi g n ati o n
                                of Ori gi n a n d F als e D es cri pti o n p urs u a nt t o, i nt er ali a , 1 5 U. S. C. §
                                1 1 2 5( a );

                     i v.       T h e Ei g ht h C a us e of A cti o n f or Tr a d e m ar k Dil uti o n p urs u a nt t o, i nt er ali a,
                                1 5 U. S. C. § 1 1 2 5( c ); a n d

                     v.         T h e Ni nt h C a us e of A cti o n f or C o p yri g ht I nfri n g e m e nt p urs u a nt t o, i nt er
                                ali a , 1 7 U. S. C. § 5 0 1.


                                                  II. D A M A G E S A W A R D

          2.         I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D, t h at s er vi n g t h e

c o m p e ns at or y a n d p u niti v e p ur p os es of t h e L a n h a m A ct's a n d t h e C o p yri g ht A ct’s pr o hi biti o ns

o n willf ul i nfri n g e m e nt, a n d as Pl ai ntiffs h a v e s uffi ci e ntl y s et f ort h t h e b asis f or t h e st at ut or y

d a m a g es r e q u est e d i n t h eir M oti o n f or D ef a ult J u d g m e nt a n d P er m a n e nt I nj u n cti o n, t h e C o urt

a w ar ds Pl ai ntiffs Ni n e H u n dr e d      T h o us a n d D oll ars ( $9 0 0, 0 0 0) p urs u a nt t o, i nt er ali a , 1 5 U. S. C. §

1 1 1 7( c) , a g ai nst e a c h of t h e D ef a ulti n g L e o n g D ef e n d a nts, j oi ntl y a n d s e v er all y, as w ell as p ost-

j u d g m e nt i nt er est at t h e st at ut or y r at e s et f ort h i n 2 8 U. S. C. § 1 9 6 1( a) ;

                                            III. P E R M A N E N T I N J U N C TI O N

          3.         I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D , t h at wit hi n 1 5

(fift e e n) d a ys of t h e d at e of t his D ef a ult J u d g m e nt a n d P er m a n e nt I nj u n cti o n Or d er ( “ Or d er ”),

e a c h of t h e D ef a ulti n g L e o n g D ef e n d a nts, t h eir r es p e cti v e offi c ers, a g e nts, s er v a nts, e m pl o y e es,

s u c c ess ors a n d assi g ns, a n d all p ers o ns a cti n g i n c o n c ert wit h or u n d er t h e dir e cti o n, i n w h ol e or

i n p art, of a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts, r e g ar dl ess of w h et h er l o c at e d i n t h e U nit e d

St at es or o utsi d e t h e U nit e d St at es, ar e p er m a n e ntl y e nj oi n e d a n d r estr ai n e d fr o m:

                                                                   -3 -
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     i.          Usi n g or utili zi n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e
     K A W S R e gist er e d C o p yri g hts, or a n y r e pr o d u cti o ns, c o u nt erf eit c o pi es, or
     c ol or a bl e i mit ati o ns t h er e of i n a n y m a n n er w h ats o e v er i n c o n n e cti o n wit h t h e
     distri b uti o n, m ar k eti n g, a d v ertisi n g, off eri n g f or s al e, or s al e of a n y g o o d,
     pr o d u ct, m er c h a n dis e a n d/ or w or k of art ( c oll e cti v el y, “ Pr o d u ct ”) t h at is n ot a
     g e n ui n e K A W S Pr o d u ct or n ot a ut h ori z e d b y Pl ai ntiffs, p urs u a nt t o a writt e n
     a gr e e m e nt wit h Pl ai ntiffs, t o b e s ol d i n c o n n e cti o n wit h a n y of a n y of t h e K A W S
     R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts;

     ii.        Usi n g or utili zi n g a n y r e pr o d u cti o n, c o u nt erf eit,   c o p y, or c ol or a bl e
     i mit ati o n of a n y of t h e K A W S R e gist er e d Tr a d e m ar ks           a n d/ or t h e K A W S
     R e gist er e d C o p yri g hts, t o i d e ntif y a n y g o o ds, pr o d u cts,     m er c h a n dis e a n d/ or w or ks
     of art ( “ Pr o d u cts ”) w hi c h h a v e n ot b e e n a ut h ori z e d b y       writt e n a gr e e m e nt wit h
     Pl ai ntiffs;

     iii.       M a n uf a ct uri n g, i m p orti n g, e x p orti n g, a d v ertisi n g, m ar k eti n g, pr o m oti n g,
     distri b uti n g, dis pl a yi n g, off eri n g f or s al e, s elli n g a n d/ or ot h er wis e d e ali n g i n a n y
     Pr o d u cts b e ari n g or utili zi n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e
     K A W S R e gist er e d C o p yri g hts, a n d/ or m ar ks a n d/ or a n y Pr o d u cts t h at ar e
     c o nf usi n gl y or s u bst a nti all y si mil ar t o, i d e nti c al t o a n d/ or c o nstit ut e a
     c o u nt erf eiti n g a n d/ or i nfri n g e m e nt of a n y of t h e K A W S R e gist er e d Tr a d e m a r ks
     a n d/ or t h e K A W S R e gist er e d C o p yri g hts;

     i v.       Dir e ctl y or i n dir e ctl y i nfri n gi n g i n a n y m a n n er w h ats o e v er a n y of t h e
     K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts a n d/ or
     d a m a gi n g K A W S’ g o o d will or b usi n ess r e p ut ati o n;

     v.         C o m p eti n g u nf airl y wit h Pl ai ntiffs i n a n y m a n n er w h ats o e v er;
     vi.         Utili zi n g or usi n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e
     K A W S R e gist er e d C o p yri g hts, or a n y ot h er m ar ks a n d/ or Pr o d u cts t h at ar e
     c o nf usi n gl y or s u bst a nti all y si mil ar t o a n y of t h e K A W S R e gist er e d Tr a d e m ar ks
     a n d/ or t h e K A W S R e gist er e d C o p yri g hts, o n or i n c o n n e cti o n wit h t h e
     m a n uf a ct uri n g, i m p orti n g, e x p orti n g, a d v ertisi n g, m ar k eti n g, pr o m oti n g,
     distri b uti n g, dis pl a yi n g, off eri n g f or s al e, s elli n g a n d/ or ot h er wis e d e ali n g i n a n y
     Pr o d u cts utili zi n g or b e ari n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e
     K A W S R e gist er e d C o p yri g hts;

     vii.        S e cr eti n g, c o n c e ali n g, d estr o yi n g, alt eri n g, s elli n g off, tr a nsf erri n g,
     r e m o vi n g, or ot h er wis e dis p osi n g of a n d/ or d e ali n g wit h: a n y Pr o d u cts utili zi n g or
     b e ari n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d
     C o p yri g hts; a n y c o m p ut er fil es, d at a, b usi n ess r e c or ds, d o c u m e nts or a n y ot h er
     r e c or ds or e vi d e n c e r el ati n g t o:




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                                                                                                                                     1
                                  a.        A n y of t h e D ef a ulti n g L e o n g D ef e n d a nts’ Us er A c c o u nts;
                                                                                                                                             2
                                  b.        A n y of t h e D ef a ulti n g L e o n g D ef e n d a nts’ M er c h a nt St or efr o nts;
                                                                                                                     3
                                  c.        A n y of t h e D ef a ulti n g L e o n g D ef e n d a nts’ Ass ets;          a n d/ or

                                  d.        T h e m a n uf a ct ur e, i m p ort ati o n, e x p ort ati o n, a d v ertisi n g, m ar k eti n g,
                                            pr o m oti o n, distri b uti o n, dis pl a y, off eri n g f or s al e a n d/ or s al e of a n y
                                            Pr o d u cts utili zi n g or b e ari n g or i nfri n gi n g a n y of t h e K A W S
                                            R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts,
                                            b y a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts a n d b y t h eir r es p e cti v e
                                            offi c ers, e m pl o y e es, a g e nts, s er v a nts a n d all p ers o ns i n c o n c ert or
                                            p arti ci p ati o n wit h a n y of t h e m; a n d

                       viii.       S hi p pi n g, d eli v eri n g, h ol di n g f or s al e, tr a nsf erri n g or ot h er wis e m o vi n g,
                       st ori n g, distri b uti n g, r et ur ni n g, or ot h er wis e dis p osi n g of, i n a n y m a n n er, a n y
                       Pr o d u cts or i n v e nt or y n ot m a n uf a ct ur e d b y or f or Pl ai ntiffs, n or a ut h ori z e d b y
                       Pl ai ntiffs t o b e s ol d or off er e d f or s al e, a n d w hi c h b e ar or utili z e a n y of t h e
                       K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts or a n y
                       r e pr o d u cti o ns, c o u nt erf eit c o pi es, or c ol or a bl e i mit ati o ns t h er e of;

                       i x.        Eff e cti n g assi g n m e nts or tr a nsf ers, f or mi n g n e w e ntiti es or ass o ci ati o ns or
                       cr e ati n g a n d/ or utili zi n g a n y ot h er pl atf or ms, Us er A c c o u nts, M er c h a nt
                       St or efr o nts, or d e vi c e(s) or a n y ot h er m e a ns of i m p ort ati o n, e x p ort ati o n,
                       a d v ertisi n g, m ar k eti n g, pr o m oti o n, distri b uti o n, dis pl a y, of f eri n g f or s al e a n d/ or
                       s al e of a n y Pr o d u cts utili zi n g or b e ari n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks
                       a n d/ or t h e K A W S R e gist er e d C o p yri g hts f or t h e p ur p os e of cir c u m v e nti n g or

1
    “ Us er A c c o u nts ” is d efi n e d as: A n y a n d all w e bsit es a n d a n y a n d all a c c o u nts wit h o nli n e
m ar k et pl a c e pl atf or ms ( “ O nli n e M ar k et pl a c e Pl atf or ms ”) w hi c h i n cl u d e wit h o ut li mit ati o n, A m a z o n,
e B a y, Ets y, Ali E x pr ess, R a k ut e n, Ali bris, S h o p e e, L a z a d a, T a o b a o, Fli p k art, W al m art, N e w e g g,
W a yf air, M er c a d o Li br e, a n d C dis c o u nts, as w ell as a n y a n d all as y et u n dis c o v er e d a c c o u nts a n d
w e bsit es h el d b y or ass o ci at e d wit h a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts, t h eir r es p e cti v e offi c ers,
e m pl o y e es, a g e nts, s er v a nts a n d all p ers o ns a cti n g i n c o n c ert or p arti ci p ati o n wit h a n y of t h e m.
2
    “ M er c h a nt St or efr o nts ” is d efi n e d as: A n y a n d all Us er A c c o u nts t hr o u g h w hi c h a n y of t h e
D ef a ulti n g L e o n g D ef e n d a nts, t h eir r es p e cti v e offi c ers, e m pl o y e es, a g e nts, s er v a nts a n d all p ers o ns i n
c o n c ert or p arti ci p ati o n wit h a n y of t h e m o p er at e st or efr o nts t o m a n uf a ct ur e, i m p ort, e x p ort,
a d v ertis e, m ar k et, pr o m ot e, distri b ut e, dis pl a y, off er f or s al e, s ell a n d/ or ot h er wis e d e al i n Pr o d u cts
utili zi n g or b e ari n g a n y of t h e K A W S R e gist er e d Tr a d e m ar k s a n d/ or t h e K A W S R e gist er e d
C o p yri g hts, w hi c h ar e h el d b y or ass o ci at e d wit h a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts, t h eir
r es p e cti v e offi c ers, e m pl o y e es, a g e nts, s er v a nts a n d all p ers o ns i n c o n c ert or p arti ci p ati o n wit h a n y of
t h e m.
3
   “ Ass ets ” is d efi n e d as: A n y a n d all f u n ds, m o n e y, s e c uriti es or ot h er pr o p ert y or ass ets of a n y of t h e
D ef a ulti n g L e o n g D ef e n d a nts, w h et h er s ai d ass ets ar e l o c at e d i n t h e U nit e d St at es or o utsi d e t h e
U nit e d St at es.

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     ot h er wis e a v oi di n g t h e pr o hi biti o ns s et f ort h i n t his D ef a ult J u d g m e nt a n d
     P er m a n e nt I nj u n cti o n Or d er;

     x.          P assi n g off, i n d u ci n g, or e n a bli n g ot h ers t o s ell or p ass off a n y Pr o d u ct as
     a g e n ui n e K A W S Pr o d u ct or a n y ot h er Pr o d u ct pr o d u c e d b y K A W S, t h at is n ot a
     g e n ui n e K A W S Pr o d u ct or n ot pr o d u c e d u n d er t h e a ut h ori z ati o n, c o ntr ol, or
     s u p er visi o n of K A W S a n d a p pr o v e d b y K A W S f or s al e u n d er a n y of t h e K A W S
     R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts, p urs u a nt t o a
     writt e n a gr e e m e nt wit h K A W S;

     xi.         Usi n g, li n ki n g t o, tr a nsf erri n g, s elli n g, e x er cisi n g c o ntr ol o v er, or
     ot h er wis e o w ni n g a n y Us er A c c o u nts a n d/ or M er c h a nt St or efr o nts, or a n y ot h er
     d e vi c e t h at is b ei n g us e d t o s ell or is t h e m e a ns b y w hi c h a n y of t h e D ef a ulti n g
     L e o n g D ef e n d a nts c o ul d c o nti n u e t o s ell c o u nt erf eit K A W S Pr o d u cts;

     xii.       E n g a gi n g i n a n y c o urs e of c o n d u ct li k el y t o c a us e c o nf usi o n, d e c e pti o n or
     mist a k e, or i nj ur e Pl ai ntiffs’ b usi n ess r e p ut ati o n or w e a k e n t h e disti n cti v e q u alit y
     of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts,
     K A W S’s n a m e, r e p ut ati o n or g o o d will;

     xiii.      C o m mitti n g a n y a cts c al c ul at e d t o c a us e c o ns u m ers t o b eli e v e t h at a n y
     Pr o d u cts ar e t h os e s ol d u n d er t h e a ut h ori z ati o n, c o ntr ol or s u p er visi o n of K A W S,
     or ar e s p o ns or e d b y, a p pr o v e d b y, or ot h er wis e c o n n e ct e d wit h K A W S;

     xi v.      Usi n g a f als e d es cri pti o n or r e pr es e nt ati o n i n cl u di n g w or ds or ot h er
     s y m b ols t e n di n g t o f als el y d es cri b e or r e pr es e nt t h eir u n a ut h ori z e d g o o ds as b ei n g
     t h os e of K A W S or s p o ns or e d b y or ass o ci at e d wit h K A W S a n d fr o m off eri n g
     s u c h g o o ds i n c o m m er c e;

     x v.        I nfri n gi n g or dil uti n g t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e
     K A W S R e gist er e d C o p yri g hts b y m a n uf a ct uri n g, pr o d u ci n g, distri b uti n g,
     cir c ul ati n g, s elli n g, m ar k eti n g, off eri n g f or s al e, a d v ertisi n g, pr o m oti n g,
     dis pl a yi n g or ot h er wis e dis p osi n g of a n y pr o d u cts b e ari n g a n y si m ul ati o n,
     r e pr o d u cti o n, c o u nt erf eit, c o p y or c ol or a bl e i mit ati o n of a n y of t h e K A W S
     R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts;

     x vi.       Usi n g a n y si m ul ati o n, r e pr o d u cti o n, c o u nt erf eit, c o p y or c ol or a bl e
     i mit ati o n of t h e C o a c h R e gist er e d Tr a d e m ar ks i n c o n n e cti o n wit h t h e pr o m oti o n,
     a d v ertis e m e nt, dis pl a y, s al e, off eri n g f or s al e, m a n uf a ct ur e, pr o d u cti o n,
     cir c ul ati o n or distri b uti o n of a n y pr o d u cts i n s u c h f as hi o n as t o r el at e or c o n n e ct,
     or t e n d t o r el at e or c o n n e ct, s u c h pr o d u cts i n a n y w a y t o K A W S, or t o a n y g o o ds
     s ol d, m a n uf a ct ur e d, s p o ns or e d or a p pr o v e d b y, or c o n n e ct e d wit h K A W S;

     x vii. M a ki n g a n y st at e m e nt or r e pr es e nt ati o n w h ats o e v er, or usi n g a n y
     f als e d esi g n ati o n of ori gi n or f als e d es cri pti o n, or p erf or mi n g a n y a ct, w hi c h c a n

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     or is li k el y t o l e a d t h e tr a d e or p u bli c, or i n di vi d u al m e m b ers t h er e of, t o b eli e v e
     t h at a n y g o o ds a n d/ or s er vi c es pr o vi d e d, pr o d u cts m a n uf a ct ur e d, distri b ut e d, s ol d
     or off er e d f or s al e, or r e nt e d b y D ef e n d a nt ar e i n a n y w a y ass o ci at e d or c o n n e ct e d
     wit h K A W S, or is pr o vi d e d, s ol d, m a n uf a ct ur e d, li c e ns e d, s p o ns or e d, a p pr o v e d or
     a ut h ori z e d b y K A W S;

     x viii. E n g a gi n g i n a n y c o n d u ct c o nstit uti n g a n i nfri n g e m e nt of a n y of t h e
     K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts, of
     K A W S’ ri g hts i n, or t o us e or t o e x pl oit, s ai d tr a d e m ar k a n d/ or c o p yri g hts, or
     c o nstit uti n g a n y w e a k e ni n g of K A W S’ n a m e, r e p ut ati o n a n d g o o d will;

     xi x.       Usi n g or c o nti n ui n g t o us e a n y of t h e K A W S R e gist er e d Tr a d e m ar ks
     a n d/ or t h e K A W S R e gist er e d C o p yri g hts or tr a d e n a m es or i n a n y v ari ati o n
     t h er e of o n t h e I nt er n et, eit h er i n t h e t e xt of a w e bsit e, as a d o m ai n n a m e, or as a
     k e y w or d, s e ar c h w or d, m et at a g, or a n y p art of t h e d es cri pti o n of t h e sit e i n a n y
     s u b missi o n f or r e gistr ati o n of a n y I nt er n et sit e wit h a s e ar c h e n gi n e or i n d e x, i n
     c o n n e cti o n wit h a n y g o o ds or s er vi c es utili zi n g or b e ari n g t h e K A W S R e gist er e d
     Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts;

     x x.       O p er ati n g a n d/ or h osti n g w e bsit es a n d a n y ot h er d o m ai n n a m es r e gist er e d
     or o p er at e d b y a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts t h at ar e i n v ol v e d wit h t h e
     distri b uti o n, m ar k eti n g, a d v ertisi n g, off eri n g f or s al e, or s al e of a n y Pr o d u ct b e ari n g
     or utili zi n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d
     C o p yri g hts or a n y r e pr o d u cti o ns, c o u nt erf eit c o pi es, or c ol or a bl e i mit ati o ns t h er e of t h at is
     n ot a g e n ui n e K A W S pr o d u ct or n ot a ut h ori z e d b y Pl ai ntiffs, p urs u a nt t o a writt e n
     a gr e e m e nt wit h Pl ai ntiffs, t o b e s ol d i n c o n n e cti o n wit h a n y of t h e K A W S R e gist er e d
     Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts;

     x xi.       H osti n g or a cti n g as I nt er n et S er vi c e Pr o vi d er f or, or o p er ati n g or
     e n g a gi n g i n t h e b usi n ess of s elli n g a n y w e b sit e or ot h er e nt er pris e t h at off ers f or
     s al e a n y g o o ds or pr o d u cts utili zi n g or b e ari n g a n y of t h e K A W S R e gist er e d
     Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts;

     x xii.       A c q uiri n g, r e gist eri n g, m ai nt ai ni n g or c o ntr olli n g a n y d o m ai n n a m es t h at
     i n cl u d e a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d
     C o p yri g hts or a n y m ar ks or i m a g es c o nf usi n gl y si mil ar t h er et o, a cti v ati n g a n y
     w e bsit e u n d er s ai d d o m ai n n a m es, or s elli n g, tr a nsf erri n g, c o n v e yi n g, or assi g ni n g
     a n y s u c h d o m ai n n a m es t o a n y e ntit y ot h er t h a n K A W S;

     x xiii. Usi n g a n y e- m ail a d dr ess( es) t o off er f or s al e a n y n o n g e n ui n e pr o d u cts or
     g o o ds b e ari n g or utili zi n g c o u nt erf eits of t h e K A W S R e gist er e d Tr a d e m ar ks
     a n d/ or t h e K A W S R e gist er e d C o p yri g hts; a n d

     x xi v. H a vi n g a n y c o n n e cti o n w h ats o e v er wit h a n y w e bsit es t h at off er f or s al e
     a n y m er c h a n dis e b e ari n g or utili zi n g c o u nt erf eits or i nfri n g e m e nts of a n y of t h e

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                     K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts; a n d

          3.         I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at wit hi n 1 5

(fift e e n) d a ys of t h e d at e of t his Or d er, t h e D ef a ulti n g L e o n g D ef e n d a nts m ust d eli v er u p f or

d estr u cti o n t o Pl ai ntiffs a n y a n d all Pr o d u cts utili zi n g or b e ari n g a n y of t h e K A W S R e gist er e d

Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts, a n d a n y a n d all p a c k a gi n g, l a b els, t a gs,

a d v ertisi n g a n d pr o m oti o n al m at eri als a n d a n y ot h er m at eri als i n t h e p oss essi o n, c ust o d y or

c o ntr ol of a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts t h at i nfri n g e a n y of t h e K A W S R e gist er e d

Tr a d e m ar ks a n d/ or t h e K A W S R e gist er e d C o p yri g hts, a n d/ or utili z e or b e ar a n y m ar ks a n d/ or

art w or k t h at ar e c o nf usi n gl y or s u bst a nti all y si mil ar t o a n y of t h e K A W S R e gist er e d Tr a d e m ar ks

a n d/ or t h e K A W S R e gist er e d C o p yri g hts, p urs u a nt t o, i nt er ali a , 1 5 U. S. C. § 1 1 1 8; a n d

          4.         I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at e a c h of t h e

D ef a ulti n g L e o n g D ef e n d a nts, t h eir r es p e cti v e offi c ers, a g e nts, s er v a nts, e m pl o y e es, s u c c ess ors

a n d assi g ns, a n d all p ers o ns a cti n g i n c o n c ert wit h or u n d er t h e dir e cti o n, i n w h ol e or i n p art, of

a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts, r e g ar dl ess of w h et h er l o c at e d i n t h e U nit e d St at es or

o utsi d e t h e U nit e d St at es, ar e p er m a n e ntl y e nj oi n e d a n d r estr ai n e d fr o m i nstr u cti n g, dir e cti n g,

ai di n g or a b etti n g, dir e ctl y or i n dir e ctl y, a n y p ers o n or e ntit y i n e n g a gi n g i n a n y of t h e a cti viti es

r ef err e d t o i n P ar a gr a p hs 2. a n d 3. a b o v e; a n d

          5.         I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at wit hi n 1 5

(fift e e n) d a ys of t h e d at e of t his Or d er, e a c h a n d all of t h e D ef a ulti n g L e o n g D ef e n d a nts s h all

t a k e all st e ps n e c ess ar y t o r e m o v e fr o m all w e bsit es i n w hi c h a n y of t h e D ef a ulti n g L e o n g

D ef e n d a nts o w n or c o ntr ol, i n w h ol e or i n p art, dir e ctl y or i n dir e ctl y, all t e xt or a n y ot h er m e di a

w h ats o e v er utili zi n g or b e ari n g a n y of t h e K A W S R e gist er e d Tr a d e m ar ks a n d/ or t h e K A W S

R e gist er e d C o p yri g hts or a n y m ar ks or i m a g es c o nf usi n gl y si mil ar h er et o; a n d
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           6.          I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D , t h at wit hi n

t hirt y ( 3 0) d a ys of t h e d at e of t his Or d er, e a c h of t h e D ef a ulti n g L e o n g D ef e n d a nts s h all fil e a n d

s er v e Pl ai ntiff wit h a s w or n st at e m e nt s etti n g f ort h i n d et ail t h e m a n n er a n d f or m i n w hi c h e a c h

of t h e D ef a ulti n g L e o n g D ef e n d a nts h as c o m pli e d wit h t his Or d er, i n cl u di n g wit h o ut li mit ati o ns,

its i nj u n cti v e pr o visi o ns; a n d

                                               I V. MI S C E L L A N E O U S R E LI E F

           7.           I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at a n y f ail ur e

b y a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts t o c o m pl y wit h a n y of t h e t er ms of t his Or d er s h all

b e d e e m e d c o nt e m pt of C o urt, s u bj e cti n g t h e D ef a ulti n g L e o n g D ef e n d a nts t o c o nt e m pt r e m e di es t o b e

d et er mi n e d b y t h e C o urt, i n cl u di n g wit h o ut li mit ati o n, fi n es a n d s ei z ur es of pr o p ert y; a n d

           8.          I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at u ntil

Pl ai ntiffs h a v e r e c o v er e d f ull p a y m e nt of m o ni es o w e d b y a n y of t h e D ef a ulti n g L e o n g

D ef e n d a nts p urs u a nt t o t his Or d er, Pl ai ntiffs s h all h a v e t h e a ut h orit y a n d/ or o n g oi n g a ut h orit y t o

s er v e t his Or d er o n a n y O nli n e M ar k et pl a c e Pl atf or ms a n d/ or o n a n y M er c h a nt St or efr o nts i n t h e

e v e nt t h at Pl ai ntiffs i d e ntif y a n d/ or l o c at e a n y Us er A c c o u nts c o ntr oll e d a n d/ or o p er at e d, i n

w h ol e or i n p art, b y a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts; a n d

           9.           I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at u p o n

r e c ei pt of t his Or d er b y a n y O nli n e M ar k et pl a c e Pl atf or m a n d/ or b y a n y M er c h a nt St or efr o nt,

s u c h O nli n e M ar k et pl a c e Pl atf or m a n d/ or M er c h a nt St or efr o nt, s h all wit hi n t w o ( 2) b usi n ess

d a ys:

           i.          L o c at e all a c c o u nts, f u n ds a n d/ or Us er A c c o u nts c o n n e ct e d t o a n y of t h e
           D ef a ulti n g L e o n g D ef e n d a nts;

           ii.        R estr ai n a n d e nj oi n a n y s u c h a c c o u nts or f u n ds fr o m tr a nsf erri n g or
           dis p osi n g of a n y m o n e y or a n y ot h er of t h e D ef a ulti n g L e o n g D ef e n d a nts’ Ass ets; a n d

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           iii.        R el e as e all m o ni es r estr ai n e d i n a n y of t h e D ef a ulti n g L e o n g D ef e n d a nts'
           a c c o u nts t o Pl ai ntiffs as p arti al p a y m e nt of t h e d a m a g es s et f ort h i n t his Or d er, wit hi n t e n
           ( 1 0) b usi n ess d a ys of r e c ei pt of t his Or d er.

           1 0.       I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at as t h e

C o urt fi n ds t h at t h e D ef a ulti n g L e o n g D ef e n d a nts’ a cts c o nstit ut e willf ul a n d/ or m ali ci o us i nj ur y

t o K A W S a n d/ or K A W S’s pr o p ert y u n d er 1 1 U. S. C. § 5 2 3( a)( 6), t h e s u ms a w ar d e d t o Pl ai ntiffs

h er ei n ar e n ot dis c h ar g e a bl e i n a n y b a n kr u pt c y pr o c e e di n g fil e d b y a n y of t h e D ef a ulti n g L e o n g

D ef e n d a nts; a n d

           1 1.       I T I S F U R T H E R O R D E R E D, A D J U D G E D A N D D E C R E E D t h at t his C o urt

s h all r et ai n j uris di cti o n o v er t his m att er a n d t h e p arti es, i n cl u di n g wit h o ut li mit ati o n p ers o n al

j uris di cti o n a n d s u bj e ct m att er j uris di cti o n, f or p ur p os es e nf or c e m e nt, i nt er pr et ati o n a n d

c o nstr u cti o n of t his Or d er.


S O O R D E R E D.

SI G N E D t his 2 n d d a y of M a y , 2 0 2 3.




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